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                        UNITED STATES DISTRICT COURT
                          DISTRICT OF MASSACHUSETTS


                                      )
UNITED STATES OF AMERICA              )
                                      )
                                      )
                  v.                  )    CRIMINAL NO. 03-10329-PBS
                                      )
ANGELO BRANDAO,                       )
                                      )
                                      )
                   Defendant.         )
                                      )


                            MEMORANDUM AND ORDER

                                January 9, 2006

Saris, U.S.D.J.

                                I. INTRODUCTION

     Defendant Angelo Brandao moves to suppress statements made

during a police interview on the early morning of May 15, 1999.

Brandao alleges, for a variety of reasons, that his statements

were involuntary and must be suppressed pursuant to the Fifth

Amendment.      After hearing and review of the briefs, the motion is

DENIED.

                            II. FINDINGS OF FACT

     Defendant was arrested and charged at 11:30 PM on the night

of May 14, 1999 in connection with a shooting incident on Holmes

St. in Brockton.1       After being booked and advised of his Miranda

rights, defendant asked to speak with Trooper John Duggan of the


     1
      That stop is the subject of another motion to suppress and
will not be addressed here.
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Massachusetts State Police, an officer with whom he had spoken

before in connection with the investigation of the recent killing

of Dinho Fernandes.2       Duggan, who was at home and asleep at the

time, was awakened and advised of defendant’s desire to speak

with him.      Duggan proceeded to the scene of the Holmes St.

shooting and supervised the collection of evidence.             Duggan then

traveled to the Brockton Police Station, where defendant was

being held.

     Upon arriving at the station, Duggan, accompanied by Det.

Mark Reardon of the Brockton Police, again advised Brandao of his

Miranda rights, and Brandao signed a waiver of rights form at

3:14 AM.      Both Reardon and Duggan were involved in the

interrogation.       Brandao appeared alert and did not show signs of

fatigue.      Duggan then began questioning Brandao about the Dinho

Fernandes homicide.       Brandao first offered an alibi regarding his

whereabouts during the Fernandes shooting.            Duggan responded by

explaining that he had obtained new evidence about the shooting,

including the car from which the shots were fired and

eyewitnesses detailing the car’s passengers.            Brandao became

emotional at this point and began to weep.

     Duggan then asked Brandao to recount his version of the

events surrounding the Fernandes murder.           Brandao responded



     2
       There are two waivers in the record, dated May 15 and May
18, but it is not clear why.

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despondently but did not confess to the crime, twice saying,

“there’s only one thing left to do,” and sliding his finger

across his throat.   After approximately one hour, the interview

ended.   At no time during the conversation did Brandao interrupt

the interview or ask for an attorney.

     Brandao, then age 20, had no prior arrest record and

appeared to Duggan to be a novice.

                           III. DISCUSSION

     Defendant argues that he did not make his statements

voluntarily and that they should therefore be suppressed pursuant

to the Fifth Amendment.    For a statement to be constitutionally

admissible, it must be voluntary and not compelled.         United

States v. Jackson, 918 F.2d 236, 241 (1st Cir. 1990) (“An

involuntary statement violates due process and its admission into

evidence mandates vacation of the conviction even though other

evidence in the case would have been sufficient to convict.”);

United States v. Lawrence, 889 F.2d 1187, 1189 (1st Cir. 1989)

(“To use compelled statements against a defendant . . . would

compel the defendant to testify against himself, contrary to the

Constitution.”).   There is no dispute in this case that defendant

was properly advised of his Miranda rights, both orally and in a

written statement that defendant signed.       “Where, as here, the

coercion inherent in custodial interrogation is dissipated by

proper administration of the warnings, . . . a defendant



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challenging admission of statements made subsequent to the

warnings must point to evidence tending to show that his

statements nonetheless were ‘coerced, compelled or involuntary.’”

United States v. Duarte, 160 F.3d 80, 81 (1st Cir. 1998) (quoting

Lawrence, 889 F.2d at 1189).

     “The question as to compulsion is ‘whether the will of the

defendant had been overborne so that the statement was not his

free and voluntary act, and that question [is] to be resolved in

light of the totality of the circumstances.’”        Bryant v. Vose,

785 F.2d 364, 367-68 (1st Cir. 1986) (quoting Procunier v.

Atchley, 400 U.S. 446, 453 (1971)).      A court’s inquiry should

include an evaluation of the length of the interrogation, its

location and continuity, and defendant’s maturity, education, and

mental health.   See Withrow v. Williams, 507 U.S. 680, 693

(1993).   The government bears the burden of proving voluntariness

by a preponderance of the evidence.      Jackson, 918 F.2d at 241.

     Defendant argues that the officers’ questioning him in the

wee hours of the morning and suggesting that there was very

strong evidence against him were “tactics designed to wear him

down, and to capitalize on his feelings of isolation, weariness,

and fatigue.”    (Def’s Br. 1.)   However, there is no evidence that

defendant exhibited any signs of fatigue during questioning.           Nor

did he at any point evince a desire to end the interview or seek

legal advice.    All evidence indicates that defendant wished to



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speak with the officers.

     Defendant cites in support of his claim a 1978 district

court case from New York, Robinson v. Smith, 451 F. Supp. 1278

(W.D.N.Y. 1978).      However, in that case, the officers had not

given the suspect warnings of his right to counsel and his right

to remain silent, and the suspect had been held in custody with

no sleep or food for an entire night.          Id. at 1282.    Furthermore,

the suspect had been arrested without probable cause in a tavern

after a night of drinking.        Id. at 1286.    In this case, defendant

had been fully advised of his rights three times, and makes no

allegations that he was confined under harsh conditions. Nor was

the defendant beaten or prevented from sleeping as in the other

case cited for support.       Cf. United States v. Henderson, 421 F.

Supp. 674, 676-77 (S.D.N.Y. 1976); see also Lawrence, 889 F.2d at

1190 (describing cases where statements were deemed involuntary).

Furthermore, the late hour of a confession is not per se evidence

of involuntariness, particularly for a young person out on the

town.    See Johnson v. Hall, 605 F.2d 577, 581 (1st Cir. 1979)

(confession at 5:50 AM after night of custody deemed voluntary).

     Although the police confronted defendant with further

evidence of the Fernandes murder, there is no indication that

defendant’s statements were involuntary.          While it is undisputed

that defendant began to cry, merely becoming emotional during

interrogation does not render statements involuntary.            See United

States v. Browne, 891 F.2d 389, 393 (1st Cir. 1989) (statement

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deemed voluntary even though defendant was crying and shaking);

Bryant, 785 F.2d at 368 (holding that an emotional response to

questions is not evidence of improper police tactics).

Furthermore, defendant never confessed to any role in the

Fernandes killing; his responses to questions do not indicate a

loss of control demonstrating that under the totality of the

circumstances his will was overborne.

     Defendant was alert and communicative, aware of his rights,

and treated humanely at all stages of the interrogation.          There

is no argument that defendant lacked the capacity to understand

the import of the statements he was making.        The government has

met its burden of demonstrating by a preponderance of the

evidence that defendant’s statements were voluntary in the

totality of the circumstances.

                                 ORDER

     After hearing and review of the briefs, defendant’s motion

is DENIED (Docket No. 718).



                                         S/PATTI B. SARIS

                                         United States District Judge




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